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FoR THE WESTERN DISTRICT oF TENNEssEEUSJUF|S
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E:LE`§J»':`,' ' "O `“§:;§i"@&f~;")
CHARYL AUTIN, ET AL., WD. cfr , § i,d£g§_f;ph,]é
Plaintiffs,
VS. NO. 05-2213-MaAn

SOLVAY PHARMACEUTICALS, INC. , ET AL. ,

Defendants.

 

ORDER GRANTING MOTIONS TO APPEAR PRO HAC VICE.'

 

Before the court are the June 14, 2005, motions for
admission pro hac vice of Patrick J. Mulligan and Eric N.
Roberson. Mr. Mulligan and Mr. Roberson are members in good
standing of the bar of the state of Texas and are admitted to
practice before the United States District Court for the Northern
District of Texas. Mr. Mulligan and Mr. Roberson have obtained
and are familiar with the local rules and professional guidelines
of this court. For good cause shown, the motions are granted and
Patrick J. Mulligan and Eric N. Roberson are admitted to
participate in this action as counsel for plaintiffs.

rt is 50 oRDERED this / day cf June, 2005.

SAMUEL H. MAYS, JR.
U'NI'I‘ED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:05-CV-02213 Was distributed by faX, mail, or direct printing on
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